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                                  UNITED STATES DISTRICT COURT

                                 WESTERN DISTRICT OF LOUISIANA

                                          LAFAYETTE DIVISION

   IN    THE       MATTER          OF     BULLY         1   CIVIL   ACTION     NO.    22-566
   (SWITZERLAND) GMBH, AS OWNER,
   AND NOBLE DRILLING (U.S.) LLC, AS                        JUDGE ROBERT R. SUMMERHAYS
   OWNER   PRO HAC
   GLOBETROTTER II
                                  VICE,    OF     THE       MAGISTRATE         JUDGE CAROL B. WHITEHURST



                   ORDER APPROVING LIMITATION PETITIONERS’ SECURITY,
                       DIRECTING ISSUANCE OF NOTICE TO CLAIMANTS
                         AND RESTRAINING PROSECUTION OF CLAIMS

             WHEREAS, a Verified Complaint in Limitation having been filed herein on February 25%,

    2022, by Bully 1 (Switzerland) GmbH (hereinafter referred to as “Bully 1), as Owner, and Noble Drilling

    (U.S.)   LLC     (hereinafter referred to as “Noble       Drilling”),     as Owner    Pro Hac        Vice,   of the

    GLOBETROTTER II (collectively referred to as “Petitioners”), claiming the benefit of exoneration

    from or limitation of liability, civil and maritime, within the admiralty and maritime jurisdiction

    of this Honorable Court, pursuant to 28 U.S.C. § 30501, et seq., Rule 9(h) of the Federal Rules of

    Civil Procedure and Rule F of the Supplemental Rules for Admiralty or Maritime Claims and Asset

    Forfeiture     Actions    (“Supplemental    Admiralty    Rules”),   and    also   contesting   the    liability   of

    Petitioners for any and all losses, damages, injuries and destruction done or occasioned during the

    voyage of the GLOBETROTTER             II on or about August 29, 2021, as described in the Complaint,

    also stating the facts and circumstances upon which the said limitation of and/or exoneration form

    liability is claimed, and from which          it appears that the value of Petitioners’         interest in the

    GLOBETROTTER             II and pending freight, if any, did not exceed the sum of THIRTY-NINE
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  MILLION,     SIX   HUNDRED         NINTEEN       THOUSAND,        TWO       HUNDRED         SEVENTY-FIVE

  00/100 ($39,619,275.00) U.S. DOLLARS,             and it appearing that claims may be made against

  Petitioners for losses, damages,    injuries, contractual issues, and/or destruction alleged to have

  incurred in consequence of the events alleged during the voyage on which the vessel was engaged;

  and

         WHEREAS        Petitioners have filed and submitted an Ad Interim Stipulation accompanied

  by an executed Letter of Undertaking, constituting approved security in the sum of THIRTY -NINE

  MILLION,     SIX   HUNDRED         NINTEEN       THOUSAND,        TWO       HUNDRED         SEVENTY-FIVE

  00/100 ($39,619,275.00) U.S. DOLLARS, together with interest, at the applicable rate per annum,

  all as required by the rules of this Court and the law;

         NOW,     on motion of Kean Miller LLP, Attorneys for Petitioners herein;

         IT IS ORDERED          that the Letter of Undertaking submitted by Petitioners’ underwriters,

  Assuranceforeningen        SKULD   (Gjensidig)   in the amount     of THIRTY-NINE           MILLION,         SIX

  HUNDRED         NINTEEN        THOUSAND,           TWO       HUNDRED          SEVENTY-FIVE              00/100

  ($39,619,275.00)    U.S.    DOLLARS      with    interest,   representing    Petitioners’    interest   in   the

  GLOBETROTTER II and her pending freight, if any, be accepted as security under Rule F(1) of

  the Supplemental Rules for Certain Admiralty and Maritime Claims, as well as the Federal Rules

  of Civil Procedure for purposes of this Limitation proceeding and that it be hereby approved as to

  form, quantum and surety; and

         IT IS FURTHER ORDERED that any claimant who may properly become a party hereto

  may contest the amount or value of Limitation Petitioners’ interest in the GLOBETROTTER II and

  her pending freight, if any, and may move the Court for new appraisal of the said interest and may
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  apply to have the amount increased or diminished, as the case may be, on determination of the

  Court; and

          IT IS FURTHER        ORDERED        that the further prosecution of any pending actions, suits

  or legal proceedings in any court whatsoever, and the institution and prosecution of any suits,

  actions or legal proceedings of any nature and description whatsoever in any court, wheresoever,

  except in this proceeding for limitation of liability, against Petitioners, its controllers, underwriters,

  the GLOBETROTTER II, in respect to any claim arising out of or in connection with the voyage

  of the GLOBETROTTER II on or about August 29, 2021, be and the same are hereby stayed and

  restrained until the hearing and determination of this action, and all warrants of arrests issued in

  such other suits, actions or legal proceedings be and the same are hereby dissolved; and

          IT IS FURTHER ORDERED              that a Notice issue out of and under the seal of this Court

  to and against all persons or concerns claiming damages for any and all losses or damages arising

  out of the voyage on which the GLOBETROTTER II was allegedly engaged on or about August

  29, 2021, admonishing them and each of them to appear and file their respective claims with the

  Clerk of this Court, and to serve on or mail to the Attorneys for Petitioners a copy thereof on or

  before the 14th day of April, 2022,         and to make     due proof of their claims, subject to the

  right of any such person or persons to controvert or question said claims, with liberty also, to

  any such claimants who have duly filed their claims to answer the Complaint therein and to file

  such answers on or before the date heretofore specified; and

          IT IS FURTHER ORDERED              that public notice of said notice shall be given publication

  in the newspaper known as The Daily Advertiser, and that such notice shall be published once a

  week for four successive weeks, prior to the date fixed herein, for the filing of claims; and
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          IT IS FURTHER ORDERED that not later than the date of the second publication of said

  notice, Petitioners shall cause to be mailed a copy of the said notice to every person or concern

  known to have made any claim that remains outstanding against the GLOBETROTTER                   II, or

  against Petitioners, arising out of the voyage on which said vessel was engaged; and

          IT IS FURTHER ORDERED             that service of this Order as a Restraining Order be made

  within this district, or in any other district by counsel for Petitioners and/or the U.S. Marshal for

  such district, by delivering a copy of this Order to the person or persons to be restrained, or to his

  or their attorneys.




          Lafayette, Louisiana, this 4th day of March, 2022.




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                                                   UNITED STATES DISTRICT JUDGE
